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15                                       UNITED STATES DISTRICT COURT
16                                  NORTHERN DISTRICT OF CALIFORNIA
17                                            OAKLAND DIVISION
18

19   ICONIX, INC.,                                     Case No. C06-02201 SBA (JCS)

20                          Plaintiff,                 STIPULATION AND [PROPOSED]
                                                                        XXXXXXXX
                                                       ORDER GRANTING CONDITIONAL
21            v.                                       DISMISSAL

22   LANCE TOKUDA, JIA SHEN, and
     NETPICKLE, INC.,
23
                            Defendants.
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                                                              STIPULATION & [PROPOSED] ORDER GRANTING
     OHS West:260155312.1                                                       CONDITIONAL DISMISSAL
                                                                                          C06-02201 SBA
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 1            WHEREAS, on November 17, 2006, Plaintiff Iconix, Inc. (“Iconix”) and Defendants

 2   netPickle, Inc., Lance Tokuda and Jia Shen (collectively, “Defendants”) reached a settlement

 3   agreement (the “Settlement Agreement”) which cannot be fully performed until 100 days from

 4   the filing of this stipulation;

 5            WHEREAS, the parties wish to dismiss the action upon the completion of that 100 day

 6   period, conditioned upon the prior satisfaction of all conditions which need to be satisfied under

 7   the Settlement Agreement within the 100 day period;

 8            NOW, THEREFORE,

 9            1.       Pursuant to the terms set forth below, the parties stipulate to conditionally dismiss

10   all of the claims and counterclaims in this action one hundred days from the entry of this Order.

11            2.       This dismissal is subject to the satisfaction in full of all conditions which need be

12   satisfied within 100 days set forth in the parties’ Settlement Agreement as conditions precedent to

13   the dismissal.

14            3.       During this 100 day period and while this conditional dismissal is in effect, all

15   matters currently before the Court in this action shall be taken off calendar, all dates set by the

16   Court are vacated, and neither party shall pursue discovery or file motions in this action unrelated

17   to this stipulation.

18            4.       Once the 100 day period has passed and the conditions precedent identified in

19   paragraph 2 above have been satisfied either party may so inform the Court, and this conditional

20   dismissal shall become a final dismissal with prejudice of all claims and counterclaims pursuant
21   to Federal Rule of Civil Procedure 41(a)(1), with each party to bear its own costs and fees.

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                                                                    STIPULATION & [PROPOSED] ORDER GRANTING
     OHS West:260155312.1                              -1-                            CONDITIONAL DISMISSAL
                                                                                                C06-02201 SBA
       Case
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 1
     Dated: January 9, 2007                     MORRISON & FOERSTER LLP
 2

 3                                                            /s/ Kenneth A. Kuwayti /s/
 4                                                                Kenneth A. Kuwayti
                                                                 Attorneys for Plaintiff
 5                                                                  ICONIX, INC.

 6   Dated: January 9, 2007                     ORRICK, HERRINGTON & SUTCLIFFE LLP
 7

 8                                                             /s/ I. Neel Chatterjee /s/
                                                                   I. Neel Chatterjee
 9                                                            Attorneys for Defendants
                                                          LANCE TOKUDA, JIA SHEN, AND
10                                                               NETPICKLE, INC.

11

12            Filer’s Attestation: Pursuant to General Order No. 45, §X(B), I attest under penalty of

13   perjury that concurrence in the filing of the document has been obtained from its signatory.

14   Dated: January 9, 2007                         Respectfully submitted,

15                                                                /s/ I. Neel Chatterjee /s/
                                                                      I. Neel Chatterjee
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17

18                                                ORDER

19                     PURSUANT TO THE STIPULATION, IT IS SO ORDERED.

20   Dated: January ___,
                     10 2007
                                                           ___________________________________
21                                                         United States District Judge
22

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                                                                STIPULATION & [PROPOSED] ORDER GRANTING
     OHS West:260155312.1                           -2-                           CONDITIONAL DISMISSAL
                                                                                            C06-02201 SBA
